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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     )      CRIMINAL ACTION NO.
                                              )
               Plaintiff,                     )      1:21-CR-00119-CJN-1
                                              )
v.                                            )
                                              )
GARRET MILLER,                                )
                                              )
               Defendant.                     )
                                              )

      MOTION FOR ADMISSION OF FRANKLYN MICKELSEN, PRO HAC VICE

       Pursuant to Criminal Local Rule 44.1 (c) & (d), Defendant Garret Miller moves for the

admission and appearance of attorney Franklyn Mickelsen pro hac vice in the above-captioned case.

This motion is supported by the Declaration of Mr. Mickelsen and a Certificate of Good Standing,

filed herewith. As set forth in Mr. Mickelsen’s declaration, he is admitted and an active member in

good standing in the following courts and bars:

       State of Texas, United States Supreme Court, Court of Appeals for the Fifth Circuit,
       Court of Appeals for the Sixth Circuit, Court of Appeals for the Eighth Circuit, Court
       of Appeals for the Tenth Circuit, Eastern District of Texas, Northern District of
       Texas, Southern District of Texas, and Western District of Texas.

       This motion is supported and signed by F. Clinton Broden, an active and sponsoring member

of the Bar of this Court.
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                                              Respectfully submitted,




DATED: 10/25/2022                             /s/ F. Clinton Broden
                                              F. Clinton Broden
                                              Broden & Mickelsen
                                              2600 State Street
                                              Dallas, Texas 75204
                                              (214) 720-9552
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                                              clint@texascrimlaw.com

                                              Attorney for Defendant
                                              Garret Miller
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                                CERTIFICATE OF SERVICE

         I hereby certify on October 25, 2022, a copy of same was electronically filed using the

CM/ECF system and thus delivered to the parties of record and pursuant to the rules of the Clerk of

Court.



Dated: 10/25/2022                                           /s/ F. Clinton Broden
                                                            F. Clinton Broden
